   Case 1:23-sw-00372-JFA Document 7 Filed 07/17/23 Page 1 of 3 PageID# 55




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

 ALL FUNDS, UP TO THE AMOUNT OF
 $58,465,480 HELD OR STORED AT
 MITSUBISHI UFJ TRUST AND BANKING                      Case No. 23-sw-326
 CORPORATION ACCOUNT 1110910328,
 IN THE NAME OF DELTEC BANK AND
 TRUST

 ALL FUNDS, UP TO THE AMOUNT OF
 $27,337,385.47 HELD OR STORED AT
 MITSUBISHI UFJ TRUST AND BANKING                      Case No. 23-sw-336
 CORPORATION ACCOUNT 1110910328,
 IN THE NAME OF DELTEC BANK AND
 TRUST

 ALL FUNDS, UP TO THE AMOUNT OF
 $19,099,652.07 HELD OR STORED AT
 MITSUBISHI UFJ TRUST AND BANKING                      Case No. 23-sw-372
 CORPORATION ACCOUNT 1110910328,
 IN THE NAME OF DELTEC BANK AND
 TRUST

                           UNITED STATES’ MOTION TO UNSEAL

       The United States of America, by counsel, respectfully requests the above-captioned

matters be unsealed.

       On June 12, 2023, and June 23, 2023, the Honorable Lindsey R. Vaala, United States

Magistrate Judge for the Eastern District of Virginia, authorized seizure warrants for the property

listed above in case numbers 23-sw-326 and 23-sw-336. On June 28, 2023, the Honorable John F.

Anderson, United States Magistrate Judge for the Eastern District of Virginia, authorized a seizure

warrant for the property listed above in Case No. 23-sw-372. To protect the criminal investigation,

the United States requested that the seizure warrant, application, supporting affidavit, motion to

seal, and sealing order be sealed until further motion of the United States.

       The concerns raised in the motion to seal are no longer present and the United States now
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respectfully moves to unseal the warrant, application, supporting affidavit, motion to seal, sealing

order, and any other documents filed in connection with the above-captioned matters.

                                               Respectfully submitted,
                                               Jessica D. Aber
                                               United States Attorney


                                         By:                    /s/
                                               Zoe Bedell
                                               Assistant United States Attorney
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                          IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

 ALL FUNDS, UP TO THE AMOUNT OF
 $58,465,480 HELD OR STORED AT
 MITSUBISHI UFJ TRUST AND BANKING                      Case No. 23-sw-326
 CORPORATION ACCOUNT 1110910328,
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 ALL FUNDS, UP TO THE AMOUNT OF
 $19,099,652.07 HELD OR STORED AT
 MITSUBISHI UFJ TRUST AND BANKING                      Case No. 23-sw-372
 CORPORATION ACCOUNT 1110910328,
 IN THE NAME OF DELTEC BANK AND
 TRUST

                                              ORDER

        This matter having come before the Court on the United States’ motion to unseal the above-

caption matters and the Court having concluded that the United States has shown good cause

therefore, it is hereby

        ORDERED that the warrant to seize the above-captioned property, the application for the

warrant, the affidavit in support thereof, the motion to seal, sealing order, and any other documents

filed in connection with the above-captioned matters be UNSEALED.

                                                                     Digitally signed by Ivan Davis
                                                                     Date: 2023.07.17 14:27:47 -04'00'
                                              The Honorable Ivan D. Davis
                                              United States Magistrate Judge
Date: ____________________
       Alexandria, Virginia
